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                       UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF NEW YORK

__________________________________________
SECURITIES AND EXCHANGE COMMISSION :
                                           :              CASE NO.: 17cv4179 (DLC)
                        Plaintiff,         :
                                           :              NOTICE OF MOTION AND
v.                                         :              MOTION TO WITHDRAW
                                           :              AS COUNSEL
                                           :
ALPINE SECURITIES CORPORATION,             :
                                           :
                        Defendant.         :
__________________________________________:


       PLEASE TAKE NOTICE that upon the accompanying Declaration of Gregory A.

Kasper, counsel moves this Court for an Order granting Gregory A. Kasper leave to

withdraw as attorney for Plaintiff, Securities and Exchange Commission.


Dated: November 16, 2017

                                    Respectfully submitted,


                                    /s/ Gregory A. Kasper
                                    Gregory A. Kasper (NY2735404; SDNY GK6596)
                                    Zachary T. Carlyle (pro hac vice)
                                    Terry E. Miller (pro hac vice)
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                                    UNITED STATES SECURITIES AND
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     Case 1:17-cv-04179-DLC Document 59 Filed 11/16/17 Page 2 of 2



                              CERTIFICATE OF SERVICE

       I certify that on November 16, 2017, a copy of the foregoing document was served

via ECF upon the following:

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       Add Maranda

       Counsel for Alpine Securities Corporation



                                                   /s/ Marla J. Pinkston
                                                   Marla J. Pinkston
